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                                     UNITED STATES COURT OF APPEALS
                                        FOR THE ELEVENTH CIRCUIT                                       MAY 22 2012
                                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                          56 Forsyth Street, N.W.
                                                          Atlanta, Georgia 30303


           John Ley                                                                                   For rules and forms visit
           Clerk of Court                                                                             www.ca11.uscourts.gov


                                                         May 22, 2012


             Steven M. Larimore
             United States District Court
             400 N MIAMI AVE
             MIAMI, FL 33128-1807

             Appeal Number: 12-11449-DD
             Case Style: U.S. Attorney General v. Mary Pine
             District Court Docket No: 9:10-cv-80971-KLR


             The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court.
             See 11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R.
             27-2, "a motion to reconsider, vacate, or modify an order must be filed within 21 days of the
             entry of such order. No additional time shall be allowed for mailing."

             Sincerely,

             JOHN LEY, Clerk of Court

             Reply to: Brenda McConnell/Operations Section
             Phone #: (404) 335-6100

             Enclosure(s)


                                                                              DIS-4 Multi-purpose dismissal letter




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